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                               UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF LOUISIANA

  RENATA SINGLETON,
  LAZONIA BAHAM,
  MARC MITCHELL,
  JANE DOE,
  FAYONA BAILEY,
  TIFFANY LACROIX, and
  SILENCE IS VIOLENCE,

             Plaintiffs,
                                                   CIVIL ACTION NO. 2:17-CV-10721
                 v.
                                                   JUDGE: JANE TRICHE MILAZZO
  LEON CANNIZZARO, in his official
  capacity as District Attorney of Orleans         MAGISTRATE: JANIS VAN MEERVELD
  Parish and in his individual capacity;

  DAVID PIPES,
  IAIN DOVER,
  JASON NAPOLI,
  ARTHUR MITCHELL,
  TIFFANY TUCKER,
  MICHAEL TRUMMEL,
  MATTHEW HAMILTON,
  INGA PETROVICH,
  LAURA RODRIGUE, and
  JOHN DOE,
  in their individual capacities;

             Defendants.
DECLARATION OF OLEVIA BOYKIN IN SUPPORT OF MOTION FOR ADMISSION
                         PRO HAC VICE

I, Olevia Boykin, declare:

        1.        I am an attorney with Civil Rights Corps in Washington, D.C., and one of

Plaintiffs’ counsel in this action.

        2.        I am not a member of the Louisiana bar. I am not eligible for admission to the bar

of the Eastern District of Louisiana under Local Rule 83.2.1.



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          3.       I am a member in good standing of the Texas state bar. A certificate of my good

               standing with the Texas Bar is filed herewith.

          4.      There have been no disciplinary proceedings or criminal charges instituted against

me.

          5.      I consent to electronic service of all documents through the Court’s Electronic

Filing System. I will register and obtain credentials for the Court’s ECF system.

          6.       Bruce Hamilton of the ACLU Foundation of Louisiana will serve as local

counsel in this action.

          7.      I have reviewed and am familiar with the Court’s Local Rules.

          I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.

          I DO SOLEMNLY SWEAR that I will conduct myself as an attorney and counselor of

this Court, uprightly and according to law; and that I will support the Constitution of the United

States.

          Dated: March 11, 2019

                                                                                    /s/ Olevia Boykin
                                                                                      Olevia Boykin*
                                                                                             Attorney
                                                                                   Civil Rights Corps


                                                           * Not licensed in the District of Columbia,
                                                            practice subject to D.C. App. R. 49(c)(8),
                                                             with supervision by Alec Karakatsanis, a
                                                                              member of the D.C. Bar




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